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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

                                          )
Food Not Bombs Houston et al.,            )
                                          )
Plaintiffs,                               )
                                          ) Case No. 4:24-cv-338
v.                                        ) (Consolidated Case: No. 4:23-cv-1206)
                                          )
City of Houston, Texas,                   )
                                          )
Defendant.                                )
                                          )

                          PLAINTIFFS’ INDEX OF EXHIBITS

Plaintiffs’      Short Name                               Description
 Exhibit
    1             Ordinance         Sections 20-251 through 20-257 of the Houston City Code
     2           FNBH Decl.                    Declaration of Rebecca Lavergne

     3           Walsh Decl.           Declaration of Brandon Walsh, with Exhibits A–C
     4           Rivera Decl.         Declaration of Christopher Rivera, with Exhibits A–G
     5           Meade Decl.                   Declaration of Lynne Marie Meade
     6          Ferguson Decl.                   Declaration of David Ferguson
     7            Tull Decl.                     Declaration of Christopher Tull
     8              RFAs               Defendant’s Responses to Plaintiffs’ Requests for
                                                           Admission
     9        May 12, 2016 Email        Carolyn Gray May 12, 2016 Email to Pastor Lee

     10           Lane Decl.                      Declaration of LaToya Lane
     11          Sept. 5, 2012      City of Houston’s CitizensNet on Facts about Voluntary
                 CitizensNet         Homeless Feeding Registration Program, September 5,
                                                             2012
     12        Charitable Feeding   Houston Health Department Charitable Feeding Webpage
                   Webpage
     13            Whitmire         Houston Chronicle Article - Mayor John Whitmire’s Full
              Inauguration Speech                   Inauguration Speech
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 14       Mayor’s Office of     City of Houston’s Mayor’s Office for Homeless Initiatives
         Homeless Initiatives                         Landing Page
 15         Housing and          City of Houston’s City Council Housing and Community
         Community Affairs                  Affairs Committee Landing Page
 16        Aug. 16, 2012        City of Houston’s CitizensNet on Community Charrette on
            CitizensNet                      Homelessness, August 16, 2012
 17      Kinder 2023 Report        Rice University, Kinder Institute for Urban Research
                                    Report - Election 2023: Priorities and Concerns of
                                                    Houston Residents
 18        December 2015        Registered Charitable Food Service Groups December 12,
           Feeding Groups                                 2015
 19      Sept. 13, 2016 Email     David McCoy September 13, 2016 Email to Breakfast
                                                      Club Ministry
 20      Nov. 28, 2017 Email       David McCoy November 28, 2017 Email to Marlene
                                                        Navarrete
 21       Oct. 27, 2019 Email       Renee Beckham October 27, 2019 Email to Liliana
                                                         Guevara
 22      Mar. 31, 2020 Email     James Koski March 31, 2020 Email to Chief Troy Finner
 23      HPL 2017 Homeless         Savannah Dorsett March 20, 2017 Email to Ashley
             Resources                Schmidt and Homeless Help Food Handout
 24       FNBH About Page                      FNBH About Webpage
 25       Charitable Feeding       City of Houston Notice Regarding Charitable Food
                Notice                                  Services
 26        Dinner to Home       City of Houston L32680 Dinner to Home (Bread of Life,
              Ordinance                      Inc.) Ordinance, May 11, 2023
 27      May-June 2016 Parks      City of Houston Parks and Recreation Permit Master
          Feeding Calendar                       Report, May-June 2016
 28      Aug. 12, 2021 Email    Marvalette Hunter August 12, 2021 Email to Andy Icken
 29          Citation List        List of City of Houston Citations under Houston City
                                                   Code Section 20-252
 30       Aug. 2, 2023 HPD       August 2, 2023 Houston Police Department Report re:
               Report                                James Alen Foster
 31         Picone Decl.        Declaration of Phillip Picone filed in No. 4:23-cv-1206 on
                                                  Jan. 8, 2024 (Dkt. 27-1)
 32      Aug. 14, 2023 Photo           FNBH August 14, 2023 Food Sharing Photo
 33       Feb. 23, 2023 Email      Renee Beckham February 23, 2023 Email to Parish
                                                     Coleman
 34       Jan. 10, 2024 Video        FNBH January 10, 2024 Food Sharing Video
 35       Kennedy 30(b)(6)         Transcript Excerpts of Rule 30(b)(6) Deposition of
               Dep.                            Captain Jennifer Kennedy
 36       Beckham 30(b)(6)      Transcript Excerpts of Rule 30(b)(6) Deposition of Chief
               Dep.                            Sanitarian Renee Beckham
 37          Kadir Dep.            Transcript Excerpts of Deposition of Saima Kadir
